Case 22-50035-JPS          Doc 514  Filed 08/08/23 Entered 08/08/23 19:57:54                Desc Main
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                            UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF GEORGIA


In re:
                                                        Case No. 22-50035-JPS
TERI GALARDI,
                                                        Chapter 11
          Debtor.
                                                /

ASTRID E. GABBE                                         Contested Matter

          Movant.

v.

ALEXIS KING and JOSEPH ROBERT
GUERNSEY d/b/a RED SHIELD
FUNDING, as assignee

          Respondents.
                                                /

                         NOTICE OF OBJECTION TO CLAIM NO. 110

     ASTRID E. GABBE, ESQ., CREDITOR AND INTERESTED PARTY, HAS FILED
AN OBJECTION TO YOUR CLAIM IN THIS BANKRUPTCY CASE.

           Your claim may be reduced, modified, or eliminated. You should read these
documents carefully and discuss them with your attorney, if you have one in this bankruptcy
case. If you do not have an attorney, you may wish to consult one.

          If you do not want the court to eliminate or change your claim, then you or your
attorney shall file with the court a written response to the objection on or before September 6,
2023. If you are receiving this notice by mail, you may add 3 days to the response date, in
accordance with FRBP 9006(f). The objection or response should be sent to:

Clerk, U.S. Bankruptcy Court
Middle District of Georgia
P.O. Box 1957
Macon, GA 31202
478-752-3506

             If a response is filed, a hearing on the objection to your claim shall be held on:
     September 27, 2023 at 11:00 a.m. in Courtroom A at the U.S. Courthouse, 433 Cherry
     Street, Macon, Georgia 31201.

            If you mail your response to the Court for filing, you shall send it early enough so that
     the court will receive the response on or before the response date stated above.
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       Any response shall also be served on the Movant.

       If you or your attorneys do not take these steps, the court may decide you do not
oppose the objection to your claim.

       This notice is sent by the undersigned pursuant to LBR 9004-1.

Parties should consult the Court’s website (www.gamb.uscourts.gov) concerning whether the
hearing will be in-person, telephonic, or virtual. Please refer to Administrative Order #145 for
more guidance.

       This 7th day of August, 2023.
                                                      /s/ Jason M. Orenstein
                                                      JASON M. ORENSTEIN
                                                      State Bar # 554302
                                                      Attorney for Astrid E. Gabbe
1922 Forsyth Street
Macon, GA 31201
(478) 743-6300
jason@jmolaw.com
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                         UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF GEORGIA


In re:
                                                    Case No. 22-50035-JPS
TERI GALARDI,
                                                    Chapter 11
         Debtor.
                                            /

ASTRID E. GABBE                                     Contested Matter

         Movant.

v.

ALEXIS KING and JOSEPH ROBERT
GUERNSEY d/b/a RED SHIELD
FUNDING, as assignee

         Respondents.
                                            /

                        OBJECTION TO PROOF OF CLAIM NO. 110

         Creditor and Interested Party in the above matter, ASTRID E. GABBE (herein “Gabbe”),

hereby files this Objection to Proof of Claim No. 110 asserted by Alexis King, and assigned to

Joseph Robert Guernsey d/b/a Red Shield Funding (herein “Respondents”), and respectfully

shows this Court as follows:

         1.    On January 12, 2022 debtor filed a voluntary petition for relief under Chapter 11.

Gabbe and Respondents are creditors/interested parties holding claims against the debtor in the

above bankruptcy case.

         2.    In the years preceding the filing of the debtor’s bankruptcy petition, Gabbe

provided legal representation pursuant to a contingency fee agreement with Alexis King in a

claim for damages under the Florida Minimum Wage Act resulting a judgment entered on

September 20, 2021 in the amount of $468,446.62 in favor of Alexis King (the “King Judgment”)

from a lawsuit styled Darden et al. v. Fly Low, Inc. and Galardi, Case No. 20-cv-20592-MGC,
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in the United States District Court for the Southern District of Florida (the “District Court”).

       3.         In accordance with Florida law, on March 17, 2022, Gabbe filed a charging lien to

enforce and perfect her 35% contingency attorney fee interest in the King Judgment. Said filing

is reflected in the Darden docket and a copy is attached hereto as Exhibit 1.

       4.         On March 17, 2022, Gabbe filed Proof of Claim No. 57, asserting a claim for

$163,956.32 as an unsecured claim arising from her representation of Alexis King. As detailed

above, said amount represents contingency fees of 35% earned from the King Judgment.

       5.         On March 21, 2022, Gabbe filed Proof of Claim No. 101 on behalf of Alexis

King in the amount of $304,490.30 as an unsecured claim. Said amount represents Alexis

King’s 65% after deducting the 35% attorney fees set forth above.

       6.         On March 22, 2022, Ms. King filed Proof of Claim No. 110 in the amount of

$468,446.62. S a i d c laim reflects the full amount of the King Judgment against the Debtor,

which does not take into account contingency fees due to Gabbe.

       7.         On February 28, 2023, Ms. King filed a Notice of Withdrawal of Claim No. 101

(Doc. 306).

       8.         On March 13, 2023, Ms. King transferred her proof of claim #110 to Joseph

Robert Guernsey d/b/a Red Shield Funding. (Doc. 325)

       9.         As it stands now, Claim No. 57 and Claim No. 110 are redundant. Said

claims need to be bifurcated such that the Liquidating Trustee shall make disbursements to

Gabbe and Alexis King as separate payees.

       10.        Claim No. 110 filed by Alexis King should be reduced to $304,490.30 to take into

account Claim No. 57 and the attorney fees set forth therein.

            WHEREFORE, the Movant requests the following relief:

            (a)     That this Objection be sustained;

            (b)     That the Liquidating Trustee pay Claim No. 57 in the amount of $163,965.32 to
                    Gabbe;
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         (c)     That Claim No. 110 is modified down to $304,490.30 and paid to King or her
                 assignee;

         (d)     That the Court awards Movant such other and further relief as is just and
                 proper.

       This 7th day of August, 2023.
                                                      /s/ Jason M. Orenstein
                                                      JASON M. ORENSTEIN
                                                      State Bar # 554302
                                                      Attorney for Astrid E. Gabbe
1922 Forsyth Street
Macon, GA 31201
(478) 743-6300
jason@jmolaw.com


                                 CERTIFICATE OF SERVICE

       This is to certify that I have on this day electronically filed the foregoing Objection to Proof

of Claim No. 110 using the Bankruptcy Court’s Electronic Case Filing program which serves the

same upon all participants therein who have appeared in the case. In addition, the counsel for

Plaintiff has mailed to a copy of the foregoing Objection to Proof of Claim No. 110 to Red Shield

Funding at 1616 S. Ocean Drive #101, Vero Beach, FL 32963; Joseph Guernsey at 4681 Carvel

Court, Myrtle Beach, SC 29588; Alexis King at 1361 Arlene Valley Lane, Lawrenceville, GA 30043.

       This 7th day of August, 2023.




                                                      /s/ Jason M. Orenstein
                                                      JASON M. ORENSTEIN
                                                      State Bar # 554302
                                                      Attorney for Astrid E. Gabbe
1922 Forsyth Street
Macon, GA 31201
(478) 743-6300
jason@jmolaw.com
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          EXHIBIT 1
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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                          Case No. 20-20592-CIV-COOKE-DAMIAN

  PORSCHE DARDEN et. al,

         Plaintiffs
  v.

  FLY LOW, INC. AND TERI GALARDI,

         Defendants

                                              /

         CORRECTED NOTICE OF FILING AND ASSERTING CHARGING LIEN
               BY THE LAW OFFICES OF ASTRID E. GABBE, P.A.
                    FOR ATTORNEYS’ FEES AND COSTS

            NOTICE IS GIVEN that The Law Office of Astrid E. Gabbe, P.A. (“AG”)

   asserts an attorney’s charging lien on the Final Judgment entered in the above-captioned

   proceeding, to Plaintiff Alexis King (“King”) [Doc. 37] and on all money due from defendants

   on such judgment, and any and all assets, property, money or proceeds retained, received or

   recovered by King, or any of h e r assigns in connection with this F i n a l J udgment. This

   charging lien claims attorney’s fees and costs due AG for legal services rendered to King in

   this proceeding. To date, nothing has been paid to the undersigned and $163,956.32 is due

   to AG.

       Former Attorneys for Alexis King                  Interested Party
       Astrid E. Gabbe                                   Astrid E. Gabbe
       The Law Office of Astrid E. Gabbe, P.A.           The Law Office of Astrid E. Gabbe, P.A.
       Florida Bar No. 635383                            Florida Bar No. 635383
       P.O. Box 4216                                     P.O. Box 4216
       Hollywood, FL 33083                               Hollywood, FL 33083
       Tel. (954) 303-9882                               Tel. (954) 303-9882
       Fax. (954) 983-1427                               Fax. (954) 983-1427
       astridgabbe@gmail.com                             astridgabbe@gmail.com
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of foregoing was served via CM/ECF,
  email and/or First Class U.S. Mail to the parties on the attached service list as indicated on this
  17th day of March, 2022.
        Former Attorneys for Alexis King                    Interested Party
        Astrid E. Gabbe                                     Astrid E. Gabbe
        The Law Office of Astrid E. Gabbe, P.A.             The Law Office of Astrid E. Gabbe, P.A.
        Florida Bar No. 635383                              Florida Bar No. 635383
        P.O. Box 4216                                       P.O. Box 4216
        Hollywood, FL 33083                                 Hollywood, FL 33083
        Tel. (954) 303-9882                                 Tel. (954) 303-9882
        Fax. (954) 983-1427                                 Fax. (954) 983-1427
        astridgabbe@gmail.com                               astridgabbe@gmail.com




                                          SERVICE LIST
  Served via CM/ECF

  All parties of record

  Served via Email

  Alexis King Alexisking717@icloud.com
